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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 TOPSTEPTRADER, LLC

                       Plaintiff,                    No. 1:17-cv-4412

        v.                                           Judge Harry D. Leinenweber

 ONEUP TRADER, LLC, and SATTAM                       MOTION FOR RECOGNITION OF
 ALSABAH,                                            PROPER SERVICE, OR
                                                     ALTERNATIVELY, MOTION FOR
                       Defendants.                   SERVICE BY EMAIL

        Plaintiff TopstepTrader, LLC (“Topstep”) respectfully requests the Court find that Sattam

Alsabah was served through his counsel and because has actual notice of the suit, or alternatively,

pursuant to Federal Rule of Civil Procedure 4(f)(3), grant Topstep’s Motion for Alternative Service

to serve Mr. Alsabah by email and/or Twitter.

                                    FACTUAL BACKGROUND

       1.      On October 6, 2017, Topstep filed its Second Amended Complaint which was

served on counsel for OneUp Trader, LLC (“OneUp”) electronically. See Second Am. Compl. 20,

ECF No. 33.

       2.      Topstep emailed counsel for OneUp on three occasions asking whether he also

represented Mr. Alsabah. Ex. A. OneUp’s counsel did not respond to any of these emails.

       3.      On October 31, 2017, Adam Wolek, counsel for Topstep, and David Wolfsohn,

counsel for OneUp, appeared at a status hearing before the Court. See Min. Entry 1, ECF No. 38;

Ex. B (Decl. of A. Wolek). At this hearing, Mr. Wolfsohn indicated he represented both OneUp

and Mr. Alsabah.

       4.      Pursuant to the Court’s Minute Order (ECF No. 38), Topstep served a single

interrogatory to Mr. Wolfsohn and Christopher Grohman, additional counsel for OneUp, by email.
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See Ex. B (Decl. of A. Wolek). OneUp served its Response and Objections to Topstep’s

Interrogatory (the “Response”) by email on November 7, 2017. See Ex. B (Decl. of A. Wolek);

Ex. C at 3 (Resp. & Objs. to Pl.’s Interrog.).

       5.      That same day, Topstep emailed counsel for OneUp, requesting it provide a

complete answer to Topstep’s interrogatory.          Not reaching resolution via email, Topstep

subsequently requested to meet and confer with counsel for OneUp. See Ex. B (Decl. of A.

Wolek); Ex. D.

       6.      On November 7, 2017 at 4:00 p.m. CST, Mr. Wolek, Zachary Clark, and Sanna-

Rae Taylor participated in a conference call with Julie Latsko, additional counsel for OneUp, and

Mr. Wolfsohn (the “conference call”) regarding OneUp’s incomplete interrogatory response. See

Ex. B (Decl. of A. Wolek); Ex. E (Decl. of Z. Clark); Ex. F (Decl. of S. Taylor).

       7.      During the conference call, Mr. Wolek asked Mr. Wolfsohn, “Are you representing

Sattam Alsabah?” In response, Mr. Wolfsohn stated, “Yes.” See Exs. B, E, F (Decls. of A. Wolek,

Z. Clark, S. Taylor).

       8.      Immediately following this question and response, Mr. Wolek asked Mr. Wolfsohn,

“So we cannot contact Sattam Alsabah because you are representing him?” In response, Mr.

Wolfsohn stated, “Yes.” See Exs. B, E, F (Decls. of A. Wolek, Z. Clark, S. Taylor).

       9.      After the call, and relying upon Mr. Wolfsohn’s statement, counsel for Topstep

emailed Mr. Wolfsohn, Ms. Latsko, and Mr. Grohman, stating:

       Mr. Wolfsohn,

       As you have confirmed on today’s call that you represent Sattam Alsabah, Rule
       5(b)(1) (and Rule 1) of the Federal Rules of Civil Procedure require service on you
       as his attorney. See FRCP 5(b)(1); FRCP 1. You, and thus your client Sattam
       Alsabah, were served electronically on October 6, 2017. However, in the event your
       representation of Mr. Alsabah began on October 31, 2017, Mr. Alsabah’s Answer
       is due on November 21, 2017.

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See Ex. G.

I.      Mr. Alsabah Was Served Through His Counsel and Because He Has Actual
        Notice of the Suit.

        Topstep respectfully requests the Court find that Sattam Alsabah was sufficiently served

through his attorney, Mr. Wolfson, at latest November 7, and because Mr. Alsabah has actual

notice of this suit. The Federal Rules of Civil Procedure recognize that parties can be served

pleadings through their attorneys. For instance, FRCP 5(b)(1) provides, “If a party is represented

by an attorney, service under this rule must be made on the attorney unless the court orders

service on the party.” Fed. R. Civ. P. 5(b)(1) (emphasis added). Indeed, the purpose of service is

to provide notice of a suit to a defendant. U.S. for Use of Tanos v. St. Paul Mercury Ins., 361 F.2d

838, 842 (5th Cir. 1966) (“The purpose of service of process being notice to the parties

involved….”).       During a meet-and-confer on November 7 about OneUp’s insufficient

interrogatory response, Topstep’s counsel asked Defendants’ counsel, “Are you representing

Sattam Alsabah?,” and in response, Mr. Wolfsohn stated, “Yes.” Ex. B at 2 (Decl. of A. Wolek);

Ex. E (Decl. of Z. Clark); Ex. F (Decl. of S. Taylor); and see In re Herman, 737 F.3d 449, 451

(7th Cir. 2013) (affirming district court’s holding that bankruptcy creditor was properly served

when notice of bankruptcy was delivered to creditor’s attorney). During that same conference call

when asked by counsel for Topstep, “So we cannot contact Sattam Alsabah because you are

representing him?,” Mr. Wolfsohn stated, “Yes.” Id. Mr. Wolfsohn’s two conference call

admissions aligned with his October 31 hearing concessions that he represented Mr. Alsabah.1 Ex.



1
  During the October 31 hearing David Wolfsohn also alluded that Sattam Alsabah may challenge the
Court’s personal jurisdiction over him. However, challenging personal jurisdiction is an issue separate
from service on a party, the latter of which relates to providing a defendant with notice of a lawsuit, which
as explained herein, has been provided to Sattam Alsabah. Personal jurisdiction, on the other hand, relates
to whether a court has power to rule over a defendant.
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B at 1 (Decl. of A. Wolek). After the conference call, counsel for Topstep emailed Mr. Alsabah’s

counsel and reiterated that they sought service through counsel because that would provide Mr.

Alsabah notice of the suit. See Ex. G; Herman, 737 F.3d at 451 (7th Cir. 2013) (finding service

on attorney sufficient); Torres v. Oakland Scavenger Co., 487 U.S. 312, 316 (1988) (“… [T]he

requirements of the rules of procedure should be liberally construed and … ‘mere technicalities’

should not stand in the way of consideration of a case on its merits.”). Because (a) service on a

represented party’s attorney provides a defendant notice of a suit, and (b) Mr. Wolfsohn stated he

represented Mr. Alsabah, service of the complaint was effective when it was filed and served on

Mr. Alsabah’s counsel on October 6, 2017, on October 31 (the date of Mr. Wolfsohn’s

representation to the Court), or at latest on November 7, the date Mr. Wolfsohn explicitly

acknowledged representing Mr. Alsabah.

        Moreover, Mr. Alsabah had contacted Topstep directly about the suit, so he was aware and

had actual notice of the suit’s existence. See Ex. H; see also In re Chinin USA, Inc., 327 B.R. 325,

333 (N.D. Ill. 2005) (“Rule 4 is a flexible rule that should be liberally construed to uphold service

so long as a party receives sufficient notice of the complaint.”); Chan v. Soc’y Expeditions, Inc.,

39 F.3d 1398, 1404 (9th Cir. 1994) (same); Karlsson v. Rabinowitz, 318 F.3d 666, 668 (4th Cir.

1963) (“To the extent that there is any rule or guide to be followed by the federal courts ... it is that

where actual notice of the commencement of the action and the duty to defend has been received

by the one served, the provisions of Rule 4(d)(1) should be liberally construed to effectuate

service....”). Furthermore, Mr. Wolfsohn previously stated during several phone conferences that

he was communicating with Mr. Alsabah about this case, including on October 11, where Mr.

Wolfsohn said he would relay Topstep’s offer of settlement to Mr. Alsabah, and later on November

1, where Mr. Wolfsohn said Mr. Alsabah rejected the offer. See Prediction Co. v. Rajgarhia, No.



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09 Civ. 7459, 2010 WL 1050307, at *1 (S.D.N.Y. Mar. 22, 2010) (stating the purpose of service

is to “apprise interested parties of the pendency of the action and afford them an opportunity to

present their objections”). Here, Mr. Alsabah had direct knowledge and actual notice of the suit

because he had communicated with Topstep about it, and because he had discussed the suit and its

potential resolution with his attorney. Additionally, as President and Director2 of OneUp, Mr.

Alsabah was the point of contact on this suit since its inception, further demonstrating Mr.

Alsabah’s actual notice of the suit.

         Accordingly, because (a) OneUp’s counsel stated that he represented Mr. Alsabah and was

served with the suit, and (b) Mr. Alsabah was aware of, communicated about, and had actual notice

of the suit, Topstep respectfully requests the Court recognize that Topstep’s service upon Sattam

Alsabah was proper.

II.      Alternatively, Serving Mr. Alsabah by Email Will Adequately Notify Him of the
         Litigation and Is Not Prohibited by International Agreement.

         If the Court finds that Mr. Alsabah should be notified of this suit by additional means other

than through service on his attorney, Topstep respectfully requests to serve Sattam Alsabah by

email and/or Twitter.3

         Electronic service is appropriate in this case as OneUp and Sattam Alsabah rely on

electronic methods to communicate with their clients and counsel, and in official correspondence

to the U.S. government at the U.S. Patent & Trademark Office (see, e.g., Ex. I (Mr. Alsabah’s

federal trademark application to the U.S.P.T.O.)), demonstrating the reliability of this


2
  In his electronic filings with the U.S. Patent & Trademark Office, Mr. Alsabah uses both titles
interchangeably.
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  Procedurally, Counsel for OneUp is welcome to provide Mr. Alsabah’s preferred email address(es) in a
complete answer to Topstep’s interrogatory, which would ensure the correct and most frequently used email
address(es) to guarantee proper effectuation of service. Otherwise, Topstep requests to use the email
address Mr. Alsabah used to contact the U.S. Patent & Trademark Office and Mr. Alsabah’s public Twitter
account.
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communication method for purposes of service of process. Authorizing service of process via

email will benefit all parties and the Court by safeguarding Mr. Alsabah’s receipt of prompt notice

of litigation against him, allowing the Court to move forward expeditiously and use its resources

efficiently.

        Federal Rule of Civil Procedure 4(f)(3) authorizes service of process “by any means not

prohibited by international agreement, as the Court orders.” Fed. R. Civ. P. 4(f)(3). A number of

courts, including the Northern District of Illinois, have held that under Rule 4(f)(3), alternate forms

of service, including email service, are appropriate and may be the most effective means of service

of process. See, e.g., Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1017 (9th Cir. 2002)

(holding “without hesitation” that email service of a defendant “was constitutionally acceptable”);

MacLean-Fogg Co. v. Ningbo Fastlink Equip. Co. Ltd., No. 1:08-cv-02593, 2008 WL 5100414, at

*2 (N.D. Ill. Dec. 1, 2008) (finding email and facsimile service appropriate); Michael Kors, L.L.C.

v. The P’ships, No. 13-cv-8612 (N.D. Ill. Dec 5, 2013), ECF No. 16 (granting service of process

by email and electronic publication order); Popular Enters., LLC v. Webcom Media Grp., Inc., 225

F.R.D. 560, 563 (E.D. Tenn. 2004) (quoting Rio, 284 F.3d at 1018) (granting motion to permit

service of process via email). Accordingly, allowing service solely by email and/or electronic

publication in the present case is appropriate and comports with constitutional notions of due

process.

        Furthermore, Rule 4 does not require that a party attempt service of process by other

methods enumerated in Rule 4(f) before petitioning the court for alternative relief under Rule

4(f)(3). Rio, 284 F.3d at 1014–15. As explained in Rio, Rule 4(f) does not create a hierarchy of

preferred methods of service of process. Id. at 1014. To the contrary, Rule 4(f)’s plain language

requires only that service be (a) not prohibited by international agreement and (b) directed by the



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court. Id.; Fed. R. Civ. P. 4(f). Alternative service under Rule 4(f)(3) is not a “last resort” or

“extraordinary relief,” but rather one of many methods permitted to serve an international

defendant. Rio, 284 F.3d at 1014. As such, the Court may allow Topstep to serve Mr. Alsabah

via email.

           Additionally, Mr. Alsabah is purportedly a resident of Kuwait, The Hague Convention on

the Service Abroad of Judicial and Extra-Judicial Documents in Civil and Commercial Matters

(the “Convention”) does not preclude service by email, and Kuwait does not prohibit electronic

service of process. Accordingly, federal district courts routinely permit alternative service of

process notwithstanding the applicability of the Convention. See, e.g., St. Francis Assisi v. Kuwait

Fin. House et al., No. 3:16-cv-3240, 2016 WL 5725002 (N.D. Cal. Sept. 30, 2016) (allowing

service on a Kuwaiti national by Twitter, and finding that service via Twitter under Fed. R. Civ.

P. 4(f)(3) was reasonably calculated to give notice and was not prohibited by international

agreement); In re LDK Solar Secs. Litig., 2008 WL 2415186, at *2 (N.D. Cal. June 12, 2008)

(authorizing alternative means of service on Chinese defendants without first attempting

“potentially fruitless” service under the Convention); Popular, 225 F.R.D. at 562 (authorizing

service of process by email while recognizing that “[a]lthough communication via e-mail and over

the internet is comparatively new, such communication has been zealously embraced within the

business community”). Thus, service of Mr. Alsabah by email and/or Twitter is permissible under

international law and Fed. R. Civ. P. 4(f)(3).

           Accordingly, Topstep respectfully requests the Court recognize that Mr. Alsabah was

served through his counsel and because he had actual notice of the suit, or alternatively, permit

Topstep to serve Mr. Alsabah by email and/or Twitter pursuant to Federal Rule of Civil Procedure

4(f)(3).



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Dated: November 9, 2017                    Respectfully submitted,

                                           TOPSTEPTRADER, LLC,


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                               CERTIFICATE OF SERVICE

       The undersigned certifies that, on November 9, 2017, he caused this document to be served

upon the following counsel of record through electronic mail delivery.

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                                                By: /s/ Zachary Clark
                                                    Zachary Clark




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